   Case 22-09001         Doc 7   Filed 08/01/22 Entered 08/01/22 16:06:31             Desc Main
                                    Document    Page 1 of 8



                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF TEXAS
                                     LUFKIN DIVISION

JAIME R. HERNANDEZ                               §
WENDY L. ALMEIDA-CRUZ                            §
                                                 §       CHAPTER 13 BANKRUPTCY
        Debtors                                  §       CASE NO.: 22-90104

JAIME R. HERNANDEZ                      §
WENDY L. ALMEIDA-CRUZ,                  §
                                        §
    Plaintiffs,                         §
                                        §
v.                                      §                ADVERSARY NO.
                                        §                22-09001
EMVLP, LLC, EMVLP II, LLC, d/b/a        §
EMVLP II, PLLC, each entity d/b/a STATE §
FARM, and ROMANS ADJUSTERS, INC., §
                                        §
    Defendants.                         §
                                        §

                           DEFENDANTS EMVLP II, LLC’S
                    ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT

        Defendants EMVLP II, LLC (improperly listed as d/b/a EMVLP II, PLLC and as d/b/a

State Farm) files this Answer to Plaintiffs’ Original Complaint (“Complaint”) [Dkt. No. 1].

        1.       Based on information and belief, Defendant admits the allegations in Paragraph No.

1 of Plaintiffs’ Complaint.

        2.       Defendant lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph No. 2 of Plaintiffs’ Complaint.

        3.       Defendant admits that State Farm Bank, F.S.B. has ceased operations. Defendant

denies that it is operated or controlled by “State Farm Insurance” and that it has any interest in the

vehicle at issue. Defendants otherwise lacks sufficient information to form a belief as to the truth

of the allegations contained in Paragraph No. 3 of Plaintiffs’ Complaint.


DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                             PAGE 1
US.351509590.01 216849.000095
   Case 22-09001         Doc 7    Filed 08/01/22 Entered 08/01/22 16:06:31            Desc Main
                                     Document    Page 2 of 8



        4.       Defendant lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph No. 4 of Plaintiffs’ Complaint.

        5.       Paragraph No. 5 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response.

        6.       As to Paragraph No. 6 of Plaintiffs’ Complaint, Plaintiffs do not state with

specificity when they alleged Defendant was aware, and thus, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 6.

        7.       Defendant lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph No. 7 of Plaintiffs’ Complaint. Defendant further denies that

Plaintiffs are entitled to any of the relief sought herein.

     THE JURISDICTION, VENUE, CORE PROCEEDING, LEGAL BASIS AND
    AUTHORITY OF THE BANKRUPTCY COURT TO ISSUE FINAL JUDGMENT

        8.       Paragraph No. 8 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response. To the extent a response is required, Defendant admits that this Court has

jurisdiction over this action and that venue is proper. Defendant, however, denies that it is a proper

party to this action.

                         THE FACTUAL BACKGROUND IN SUPPORT
                          OF THE PLAINTIFFS’ CAUSE OF ACTION

        9.       Defendant lacks sufficient information to form a belief as to the truth of the

allegations contained in Paragraph No. 9 of Plaintiffs’ Complaint.

        10.      Defendant admits that State Farm Bank, F.S.B. has ceased operations. Defendant

denies that it is operated or controlled by “State Farm Insurance” and that it has any interest in the

vehicle at issue. Defendants otherwise lacks sufficient information to form a belief as to the truth

of the allegations contained in Paragraph No. 10 of Plaintiffs’ Complaint.


DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                             PAGE 2
US.351509590.01 216849.000095
   Case 22-09001         Doc 7    Filed 08/01/22 Entered 08/01/22 16:06:31                Desc Main
                                     Document    Page 3 of 8



        11.      Paragraph No. 11 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response.

        12.      Paragraph No. 12 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response.

        13.      Paragraph No. 13 of Plaintiffs’ Complaint references Plaintiffs’ bankruptcy filings

and contents of the filings. Defendant states that the filings speak for themselves.

        14.      Paragraph No. 14 of Plaintiffs’ Complaint references Plaintiffs’ bankruptcy filings

and contents of the filings. Defendant states that the filings speak for themselves.

        15.      Paragraph No. 15, including subparts a. – f., of Plaintiffs’ Complaint references

Plaintiffs’ bankruptcy filings and contents of the filings. Defendant states that the filings speak for

themselves.

        16.      Paragraph No. 16 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response. To the extent a response is required, Defendant denies that it holds an interest

in the vehicle at issue or that it is properly listed as a creditor in Plaintiffs’ bankruptcy petition.

        17.      Paragraph No. 17 of Plaintiffs’ Complaint states a legal conclusion, and thus,

warrants no response. To the extent a response is required, Defendant denies that it holds an interest

in the vehicle at issue or that it is properly listed as a creditor in Plaintiffs’ bankruptcy petition.

        18.      Paragraph No. 18 of Plaintiffs’ Complaint references Plaintiffs’ bankruptcy filings

and contents of the filings. Defendant states that the filings speak for themselves.

        19.      Paragraph No. 19, including subparts a. – c., of Plaintiffs’ Complaint references

Plaintiffs’ bankruptcy filings and contents of the filings. Defendant states that the filings speak for

themselves. As to subpart d., Defendant denies that it received written notice of Plaintiffs’

bankruptcy Petition on June 2, 2022.


DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                                PAGE 3
US.351509590.01 216849.000095
   Case 22-09001         Doc 7   Filed 08/01/22 Entered 08/01/22 16:06:31          Desc Main
                                    Document    Page 4 of 8



        20.      Defendant lacks sufficient information to form a belief as to the truth of the

allegations in Paragraph No. 20 of Plaintiffs’ Complaint.

        21.      As to Paragraph No. 21 of Plaintiffs’ Complaint, including subparts a. – d.,

Defendant lacks sufficient information to form a belief as to the truth of the allegations in

Paragraph No. 21 of Plaintiffs’ Complaint, including subparts a. – d.

        22.      As to Paragraph No. 22 of Plaintiffs’ Complaint, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 22 of Plaintiffs’

Complaint.

        23.      As to Paragraph No. 23 of Plaintiffs’ Complaint, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 23 of Plaintiffs’

Complaint.

        24.      Defendant lacks sufficient information to form a belief as to the truth of the

allegations in Paragraph No. 24 of Plaintiffs’ Complaint.

        25.      As to Paragraph No. 25 of Plaintiffs’ Complaint, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 25 of Plaintiffs’

Complaint.

        26.      As to Paragraph No. 26 of Plaintiffs’ Complaint, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 26 of Plaintiffs’

Complaint.

        27.      As to Paragraph No. 27 of Plaintiffs’ Complaint, Defendant states that the

referenced and quoted documents speak for themselves. Otherwise, Defendant lacks sufficient

information to form a belief as to the truth of the allegations in Paragraph No. 27, including

subparts a through d.


DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                         PAGE 4
US.351509590.01 216849.000095
   Case 22-09001         Doc 7    Filed 08/01/22 Entered 08/01/22 16:06:31             Desc Main
                                     Document    Page 5 of 8



        28.      Paragraph No. 28 of Plaintiffs’ Complaint references Plaintiffs’ bankruptcy filings

and contents of the filings. Defendant states that the filings speak for themselves.

        29.      Paragraph No. 29 of Plaintiffs’ Complaint general states Plaintiffs’ request for non-

economic damages, and thus, warrants no response. To the extent a response is required, Defendant

denies Plaintiffs are entitled to the relief herein including all subparts.

                 THE REQUEST FOR A FINDING OF A WILLFUL AND/OR
                 INTENTIONAL VIOLATION OF THE AUTOMATIC STAY

        30.      Paragraph No. 30 of Plaintiffs’ Complaint restates by reference above-stated

allegations, and thus, warrants no response. To the extent a response is required, Defendant admits,

denies, or lacks sufficient information to admit or deny each allegation as stated above.

        31.      The allegations contained in Paragraph No. 31 of Plaintiffs’ Complaint are legal

conclusions to which no response is required.

        32.      As to Paragraph No. 32 of Plaintiffs’ Complaint, Plaintiffs do not specify when they

allege Defendant received written notice of the bankruptcy Petition, therefore, Defendant denies

the allegations in this paragraph.

        33.      Defendant denies the allegations contained in Paragraph No. 33 of Plaintiffs’

Complaint.

        34.      The allegations contained in Paragraph No. 34 of Plaintiffs’ Complaint are legal

conclusions to which no response is required.

        35.      The allegations contained in Paragraph No. 35 of Plaintiffs’ Complaint are legal

conclusions to which no response is required.




DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                             PAGE 5
US.351509590.01 216849.000095
   Case 22-09001         Doc 7     Filed 08/01/22 Entered 08/01/22 16:06:31          Desc Main
                                      Document    Page 6 of 8



    REQUEST TO FURTHER ENFORCEMENT OF THE ORDERS, INJUNCTIONS
            AND/OR RULE ARISING UNDER THIS BANKRUPTCY

        36.      Paragraph No. 36 of Plaintiffs’ Complaint restates by reference above-stated

allegations, and thus, warrants no response. To the extent a response is required, Defendant admits,

denies, or lacks sufficient information to admit or deny each allegation as stated above.

        37.      Paragraph No. 37 of Plaintiffs’ Complaint, including subparts a. – c., states

Plaintiffs’ requests for relief to which no response is required. To the extent Paragraph No. 37

contains factual allegations to which a response is required, Defendant denies the allegations in

Paragraph No. 37, including all subparts.

                                REQUEST AN AWARD OF DAMAGES

        38.      Paragraph No. 38 of Plaintiffs’ Complaint restates by reference above-stated

allegations, and thus, warrants no response. To the extent a response is required, Defendant admits,

denies, or lacks sufficient information to admit or deny each allegation as stated above.

        39.      Paragraph No. 39 of Plaintiffs’ Complaint, including subparts a. – d., states

Plaintiffs’ requests for relief to which no response is required. To the extent Paragraph No. 39

contains factual allegations to which a response is required, Defendant denies the allegations in

Paragraph No. 39.

        40.      Paragraph No. 40 of Plaintiffs’ Complaint, including subparts a. – e., states

Plaintiffs’ requests for relief to which no response is required. To the extent Paragraph No. 40

contains factual allegations to which a response is required, Defendant denies the allegations in

Paragraph No. 40.

        41.      The allegations contained in Paragraph No. 41 of Plaintiffs’ Complaint are legal

conclusions to which no response is required.



DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                           PAGE 6
US.351509590.01 216849.000095
   Case 22-09001         Doc 7   Filed 08/01/22 Entered 08/01/22 16:06:31             Desc Main
                                    Document    Page 7 of 8



          42.    Additionally, the unnumbered paragraph and numbered paragraph 1. – 5. following

Paragraph No. 41 contain Plaintiffs’ prayer/requests for relief, to which no response is required.

To the extent a response is required, Defendant denies the allegations contained in subparts 1. – 5.

Defendant further denies Plaintiffs are entitled to any of the relief sought by way of this action.

                                             PRAYER

          For these reasons, Defendant prays that, upon final trial and hearing of this lawsuit,

Plaintiffs takes nothing and that Defendant recovers its costs, fees, and expenses, and for such

other and further relief to which Defendant may show itself justly entitled, both in law and at

equity.

                                              Respectfully submitted,

                                              /s/ Susan E. Egeland
                                              SUSAN E. EGELAND
                                              State Bar No. 24040854
                                              susan.egeland@faegredrinker.com
                                              MATTHEW C. SAPP
                                              State Bar No. 24063563
                                              matt.sapp@faegredrinker.com
                                              MAX A. MORAN
                                              State Bar No. 24118717
                                              max.moran@faegredrinker.com
                                              FAEGRE DRINKER BIDDLE & REATH LLP
                                              1717 Main Street, Suite 5400
                                              Dallas, Texas 75201
                                              (469) 357-2533
                                              (469) 327-0860 (fax)
                                              ATTORNEYS FOR DEFENDANT
                                              STATE FARM LLOYDS




DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                            PAGE 7
US.351509590.01 216849.000095
   Case 22-09001         Doc 7   Filed 08/01/22 Entered 08/01/22 16:06:31         Desc Main
                                    Document    Page 8 of 8



                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on all counsel of record in accordance with the Federal Rules of Civil Procedure August 1, 2022.

                                            /s/ Susan E. Egeland
                                            SUSAN E. EGELAND




DEFENDANT EMVLP II, LLC’S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT                        PAGE 8
US.351509590.01 216849.000095
